Case 1-18-44427-cec   Doc 9-2   Filed 09/12/18   Entered 09/12/18 14:32:50




           EXHIBIT A
              Case 1-18-44427-cec                                                                   Doc 9-2                      Filed 09/12/18                                         Entered 09/12/18 14:32:50




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                 Case 1-18-44427-cec                                                          Doc 9-2                          Filed 09/12/18                                      Entered 09/12/18 14:32:50




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                                                                          has been duly execntccl
                                                                                                  by the                                    t>   zrtics

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                                                                                                                                                                    t

                              BRIAN COHTLN
                                                                                                         Kvtlrr
                                                                                                                                                           __                   SCOZCT          NEHER                                                             l’t”¥'t!tt·*<’f


                           LOTCC C.                 COHCIEN
                                                                                                        Sl:/liar
               Attorney t‘cn·Scller:
                                                        Pmtla A.             M`iZl.Zt.c1c                                                                                                                                                                         /’tttt‘/t<t·»<·t

                                                                                                                                        Attorney for                                l’ttrt:lntscr:               Ted Gosmall
             Adrlmsg;                 308      Wergtz l-lain
                                                                 Street, Suitge 204
                                                                                                                                       Attntws;                                 33 Gerard Scxoetz, Suite
                                                                                                                                                                                                                                                   201.
             tel.:      (631.)                9794666                      rex:                                                                                                                                              New York              117143
                                                                                   (631} 979—6/01                                                               (5*6)                 JM
             Reccipt of the
                                                                                                                                        t=l-»                                                    *800                          to-
                            Downpztyntent is nckttowledged
             agrees to actin                                  ztntl the nnctetsigned
                             accorttzutce with the
                                                   provisions of pnmgritplt
                                                                             6 shove.
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                                                    NG$PES-GN—MGiH|MMPP»NH§l*HLGQN%=INGEN€A¥{lI»4lJS1£
                                                                                                                        ·iot~                                                                                                                      4




           the Residential
                            Contract of Sale
           attempts to provide it                                is    at   tmr association
                                                                          form thru                                                   dcbt—ot=~sa~inntet=io¥—tt<l+~cr¤sc~<+lttM»ge=;i+t—l‘·¢tr<>hast=t*o—tio:tnciat-condi_
                                   meclmnistn that intakes                                                                            tion.        such a cotntnnment
           tions of the parties                              the rights and                                                                                           will
                                clcnr in sztlcs of                           otyga--                                                  nonetheless, ond                 satisfy ¢hc_contt·act
           stances. lt shoultl                     residences  in  orclinmy ci* ttmr                                                                   l’ttrctmser will t:¤l<c_thc           contingent: t
                                bc tcvicwed ourcfully                                                                                cotmttittttcul contllltltllls,                nsl: of                                                             fultilltng th _.e
          antl tltcir attorneys
                                in cnch and every
                                                         hy  Seller and Pu ·haser                                                                                   ltlcllmtng
                                                                                                                                     if Purchaser                                                    tlotvnptty ent                            lltc
          all thc provisions                        tmttsztctitnt to nutkc
                                                                            ure thttt                                                                defun ts on                                     its   0
                               ure appropriate for                                                                                   case lttw. at dcfitttltitlg           tgation to c osc.\Untl<=r
          tnodilicsuions should                      that trttnsttction.                                                                                       put‘cllt\St3t‘                            Not York
                                  bc made wltenever                       cgotintcd                                                                                           truly not rccovcr
          2. Uudcr tht:                                 neccssttry.                                                                  downpnytnent, und Seller                                      zuty p t of the
                         clause, the obligntion                                                                                      I’tn·cha·ser is not           do;:s not tunic to prove
          thc contract of sate                   of Purchaser to      rchnsc untler                                                                      willing to ta ac that                    ntty?tt&mgt;$, |{
                                is contingent                       ;
                                                                                                                                     fied                                        ris :. the clztuse n
          gage commitment                                     on   l’urclmst:r‘s_o
                                                                          ttizting 21 mort-
                                                                                                                                                :·tccot·dingl)z                                                                                              st    he moéli:
                                   letter from nn                                                                                 6. Purcltnser lhtly                             ·    _
         ttllmbcr of days                           tnstitutionrtt 1 inner                                                                                 subtntt zur nppltcatton
                                spccificd lbr tht: amount                      within the                                                                                                  to it rcgltcrcd
         eulendnr clttys. Sellers                             spec` ictl. This                                                    broker instead of applying                                                    mortgage
                                       attorney should state                     refers to
                                                                                                                                  7. 'l`his cittttsc
                                                                                                                                                                       directly to an Institut`
                                                                                                                                                       allows Scllcf I0 Catltlcl il`                   nal l,endei·.
         tht: Cotlttlttltttcttt
                                Dtttcin tlttxlctttzrtltzlivcrlt    A/hcr   cntculatiou of                                        rtcceptctl                                                     it,
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         to Puttrlmscrs   .
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                               nttorucy. to prcvcnt cotdl .                                                                      tintcl · su mlics                         Comtnitntcnt l dtc.
         should promptlv                                       ttston ltttcn                                                                            a col’ ’ ol" thc                               unless
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                                                                                                                                       ~l
                                 contirm or correct tl ·t                      Pttrolmscr                                            .
                                                                                                                                option to avoid             .
                                                                                                                                                                         .                                     Seller the
         loml, l7lll'Cl\llSCt'                                date. tn applyinn                                                                        ttnvtrtg to want            .
                                                                                                                                                                             unttl thc
          l`                   should intbrm its len or ol`                           tor it                                     to see if Purclntser                                     "hcdttlcd                    ,
                                                                                                                                                                                                         dtttcof closing
                   'tllti con
         c osttlg ttl
                                 rstct tm d roqtlcst
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       commitment occur after
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       must comply with                  the scht;9Aett dmc of
                                                                    closing. l’tu·cltascr
                                                                                           to                                   TP
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                                  deadlines an pursue                                                                           nitty not wnivc this
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       fuith. The                                             the application in                                                                                                       contingency              nt‘ct;tst;t·
                      connnitment contin                                             good                                       Pnrchttscr is subject to                 lttttsc. l'ltis
                                                                                                                                                                                         clttusc ntctnts
       conunitmcnt in tht:                      _enc_y is satisticd tn-                                                                                                                                   thru
                                 amount s citictl on or                   issuance of tt                                                                    cnnccllu on
      D¤l‘¢, UDlGSS tlc Commttm                               bclore thc Clllllllillllltblli                                    witlinq to risk ttmt                       hy Seller even il' l’urchsser
                                                '
                                                '                                                                                                       hc/site                                             is
                              l
                                            nt is cont ihotttrtl
                                                                       '
                                                                                                                                C0lllllllllllCtl(Dale.           ttyl obtain thc ('Jomtnitment
      appraisal. lt’ thc
                               commit cnt is conditioned on ttpprovnl o'{ on
                                                                   l
                                                                                                                                                       Some Pu ·hnscrS tnit '                      after the
                                                                                                                                suc:  canoellzttion l>y S`ctl cr               ) not want to hc `
      npprttisal and
                             such . provttt does                   on apprnvztl ol" nn                                              l
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                                                                                                                                                                                                     J J tLt
                                                                                                                             8. Pttrcltascr
      Comnutzncnt Date, Pt                                 not occur prior to
                                                                                       the
                                                                                                                                                                        may want                .1       ntld to
                                     tiltascr should                                                                        rcitntmrscutcnt                              pttrttgruph 22
     obtain an extension                                cithcr  enncel the contmct or                                                            shout}! include t1on~refuudabtc
                                                                                                                                                                                          that l’urcttaset·'s
                                    the Conmtitmcnt                                                                         inspection expenses l`                                         l'intuicin¤ and
                                                          Date.  lfthc conunitmcnt is
     littlcr n.·ttl1dt·atv;t or ot                                                                                                                       Purcttnscr, which
     tc au t under 1                 h0no;‘cdi.l’ttrcl1asct’t‘nns the                                                       Seller if Seller                                     should be retlttuled
                          t
                                  ·
                               ·ontr:tct o sn c                       risk ot` lacing in                                                       wilkully defaults under
                                                                                                                                                                              the contmct of sate
                                                                                                                                                                                                         by
     3. lf there nrc                              with bcllcr.                                                              tuttivc: if Seller is
                                                                                                                                                  . noble to tr:·tnsl`                               [nite;.
                          l an tcrms and                                                                                                                             cr title untler
     not be accept; alt:                    conditions that nrc                                                                                                                      the contract of stttul.
                              to Pttrchnser, such                  rcquirctl or would
     loat1,y>otttMccs ora                     the interest mic.
                                                    ats
                                                                 tcrut ofthe                                                                                        I
                            condition requiring sitlc
     those tern .: und
                       conditions should he           ofthe current home.                                                   9_2$_m
                                                                                                                              `                             (/
                                            specified in it rider.                                                               ,          _          /_
    3.    I;ltt%lauscd·:tssu‘r;;cs that                                                                                     Joint Cclpuntttcc on                                                   _
     ·tlrCt‘ ‘¤t‘=l
                        vic                            bunrinl                    Mild                                                           the                                     Mortgage (..0l}lll\g(5tIC>'     _
                                                                                                                                                                                                                                         _
                                       \\·1
                            occur t: ore ttc
                                  t
                                                                    of                                                      Rent                                                                                                         Ltangu;
           Purclmscr should                    ccmtmtttttettt cttcr                                                                    l;t·opet·ty Section
    tsstiyli
                             confirtn with the                      ts
                                                                                                                            ,         _. _
                                                                                                                                                                                       of the        New York Static Bitt‘ASs¤t:i:ttion
    cas before applying                        lender that this is the                                                          __
                                                                                                                                                                _       _       _           .               ·
                        for the                     commitment.                                                                                                                                      _               _   __    _·,   ·
    Vit`.   EIS llH$    llucn t:otnn:on_
                                                                                                                                                                                                          °l                                       _     I    ,      .

                                         the           commitment
                                                               letter itsctfis condi-                                                   _
                                                                                                                                                       \                                                                                                B‘“ Ol           mu
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    tioncd·ott·ilttl<>·0l`~Pttt‘chttscl*s·ltt=»nt<,~ot=·pttytnonl·t>l`            ·tttt5’·<¤ulstt·tt1tlix1;g           /l»<¤tl                                 _
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Case 1-18-44427-cec                             Doc 9-2                 Filed 09/12/18           Entered 09/12/18 14:32:50




                                                           RIDER TO CON'l`RAC2'l` OP SALE

       DA'l`l3:
                                            J   ULY   ______________,   20 I 8
      SBIJLER:
                                            BRIAN & LORI C?. COHEN,
                                                                                         Sl3l.Ll€R.S
      l‘U`l`tCl·1ASER:
                                            SCOT'1" NEI-IER,
                                                                           PURCl·lASl3R
      l’REMl.SliES:
                                            20 KOISNIG DRIVE,
                                                              O VSTER HAV                        COVE, NEW Y`OR.1<         1   1771
                                        SJEECTION:
                                                                                 BLOCK.:                 LOT`:
                       This Rider is annexed
                                               hereto and lbrms part
               of Sale dated as of                                     ofthe Contract
                                   the
                                       __________day ot`.luly 2018
                                                                   by and between:
                                             BR,l"AN A2             LGR}   C.    COHEN,    "SELl..1§RS"
                                                 and SCO`l7l` NIEHER,
                                                                      "l?UR.CI·lASER"
            (1) ’1`El{M§jgIi SALE;
    subject to the
                                           The above premises are
                   following additional                           sold and are
                                        provisions,                              provided same do not
                                                                                                      render title unmzirl<etoblc:
              (zi)   Any state of facts an accurate
                                                                        survey may show, provided
   uiunzirlcetublc;                                                                               same does          not render title
                                                                _


          (b) Variations, llrélll)',
                                     between walls, retaining
   and the lines ot` record                                         wall, lenees, hedges,
                            title and to CllCl'O2lClll'I}Cl}['S                            buildings and the
                                                                                                             like,
   awnings, eaves, roots,                                      ofstoops, cellar steps, trim
                            and the               like, ifziny,                             and cornices,
  adjoining property or                                                  upon the street, sidewalk
                                    buildings;                                                          or highway, or upon
                                                            y
                                                                                                                            any
             (e)   Zoning ordinances,
                                                  subdivision regulations,
  building restrictions                                                                 site
                                                                        plain ordinances and
                                 and regulations, and                                        restrictions,
  thereof as                                          to any other
                 liar ats   the same may in                        governmental regulations
                                             any way alteet the Premises                     and amendments
  closing;                                                                 or any part thereof at
                                                                                                  the clzite                          of
          (tl)     Any other or        i`
                                        utt‘her covenants,
 l`0SGl`\’€til0ns                                                        declarations, easements,
                     and agreements of                                                                 licenses, restrictions,
                                       record, if                     any, provided same. ahrc not
 structures and/or                                                                                 violnliccl
                            at   violation of same                                                               by existing
                                                            will not result in
          (c) Vztrizttions                                                     lbrliviture oftitlc;
                         between the County Land
                                                       and Tax  Map and the record description,
         (O Pu1·cl1ase1·slmll not reject                                                            if any;
                                         title if existing
 provided that il reputable                                Premises violates any of
                              title i nsuranee                                       the aforementioned
 in their present                              company will insure that such
                  location as long as
                                         same shall stand;                     improvements may remain
          (g) Frtmehise taxes against
 insurance company                       any prior owner in the chain oftitlc
                      will insure against                                      providing that fl title
                                             collection ofszime
         (li) Any state of                                       against the Premises;
                           ltzcts zi personal
                                              inspection of the Premises
         (i) Variations
                         between fences and/or                            may show.
not be deemed to                                     hedges and the recortl
                   render title l1ll1Il31`.l(.(ilAlll)lG                       lines 0l`lQl1,(§
                                                                                                Premises shall
1`i'varintions
               exceed (1) toot, and                     provided the vnriatioiis
                                                                                 nre less than one
vm·i:ition, Seller                   Purclmser         is not willing to close                        (I) toot.
                        or Purchaser may                                                               subject
                                                                                                       to the offending
receive :1 full refund                                    elect to cancel the
                                  ol' their                                      contract, in wliiclz ease
                                                down payment.        H`l)llI'Cl1f1SCl'                       Purclmser shall
                                                                                       elects to cancel, it
                                                                                                            shall be Sellers
                   Case 1-18-44427-cec                 Doc 9-2         Filed 09/12/18             Entered 09/12/18 14:32:50




                           sole election
                                         to obtnin    un Afi'idnvit· of No
                           tttljoiniug property                            Claim or Boundary Line
                                                    owner, neeeptnhle to                          Agreement from the
                           must proceed with                               l’urclmser’s       title
                                                    this trzmsuction.                                 company, in which case
                                                                                                                                   Pnrclznscrs

                                    t2}
                           that if lbr S@btd@@;LsettlLQ1tLflQQlelioLEl2ini;
                                       any reason whatsoever,                                Tlw writes misc
                                                                 other than the Sellers
                          Purchaser at good and                                         willful deihult,
                                                   mzirlcetablc title in                                 Seller is unable to
                          sulzgiect to the                               accordance with the                                 deliver to
                                           matters set forth in                               provisions of this
                                                                this Contract, the                               Contract, and
                          or proceeding                                            Seller shall not be
                                           or otherwise           incur any expense                    required           to bring any
                          refuse same, Seller                                         to render title                                  action
                                                    may rescind this Contmot and                      marketable, and il’Purchaser
                         on the signing of                                                                                           shall
                                                this Contract and
                                                                                          upon  returning  to l’urchascr
                                                                         the net title com                               herein the sum paid
                         premises, all fLll'[`i1(il.` li
                                                         abil it y on the part
                                                                                           pany expenses tin the
                                                                               of the Seller hereunder              examination   oftitle to the
                         Contract shall become                                                           shall cezise and
                                                          und be canceled and ol’uo                                       terminate, and this
                         liable for any                                                  lhrther force and
                                        other cost or clmnztge                                              effect, and Seller
                                                                         whzttsoever.                                          shall not be

                                 (3)     CON.Ql]j]_Ql_\@f l’Rl;M]§l§i 'l`he
                        Premises and the                                        Purchaser has examined
                                            personal property                                                  the
                        ihmiliztr with the                    appurtcnant to or used
                                                                                       in the operation
                                            physical condition                                              ofthe same and is
                       present physical                        ofthe  same   and agrees to purchase
                                           condition. Neither                                          the same "AS IS"
                       or herein makes                        the Seller nor uny                                            in their
                                          any representations or                  agent or representsti
                                                                                                           ve of the Seller has
                       condition of the                          promises    upon which the Purchaser                            made
                                          Premises. This paragraph                                          has relied regarding
                       deed or transfer oi`                          shall not be construed                                       the
                                             possession, whichever                           as zi warranty
                                                                                                                 surviving delivery
                                                                    is later. This
                                                                                   is as “AS ]S”l`.l'£`tl1SElOl'l0l1.               of
                                (4)   l§§CRO\l;QLLD_()\VN
                       lOl-A escrow account                          Il§§lf¤ The down
                                                            l{»j.Xl\;_
                                              maintained by the attorney                 payment herein shall beheld
                      of this Contract. In                                   liar the Seller
                                                                                                                          in an
                                           the event ofa dispute                             until closing
                                                                    between the parties, Sellcr's          of title or termination
                      to pay the
                                 money held by him into                                             attorney shall be
                      released iiom                        court, and on so                                            authorized
                                     amy tiirther obligation                   doing, shall he
                                                             or liability with                  completely  discharged and
                                                                                respect       thereto.
                               (5) §U;ll2C'l`@l$‘§_QK)@[lg§: The
                      list of any                                        Purchasers agree to
                                  title obiections
                                                      and liens upon the                       thrnish the Sellers
                                                                                                                    with zi written
                     date ofclosing,                                       Premises not less that-ii
                                         und il` it appears from                                     fteen (15) days prior
                     within which to                               such objections or                                       to the
                                         remove the same, then                         exceptions that time
                                                                    in such event,
                                                                                                              will be required
                     acliotnnnient ofclosing                                        the Sellers shall
                                                   of title within which                              l1avczireaso1ial>le
                     made as ofthe date                                   to clear such
                                                                                        objections, and all
                                            of closing.                                                      adjustments shull be

                             (6) flfl§KM[|lNSl’l:§C'l`l
                                                             ON;     THJQ$*1·'ARAGl?/tPH
                                                                                               INTENT10/E4LL Y O/l<fJ'T2`ED.
                    prior to
                             (7)_§_l@Ijlfl_QAf[|                               The Sellers shall
                              CiO.‘5illg__Q(5l'lll'lC2lFlG(S)                                    deliver to the Purchasers
                    the locenpaiuiiicipal                    ofoccupuney or completion                                     at or
                                                                                       tor all improvements
                                               authority, exeeptibr                                           requiring same
     ii" },-·”                                                        above ground pools,                                      by
                    f<mecs;’elee·les,Joyislietls,
                                                     which shall he removed                wood burning stoves,
 ff                pt‘i<>E’ii’@_ipe-tis
                                          an impediment to                    without  allowance or abatement
                                                                                                                   retaining walls,
X!                                                         closing. in
                                                                     lieu thereoti and
                                                                                                                      ofthe
                                                                                                                  purchase
              Y,   dclivcreuiid
                                  Purchasers shall                                      if
                                                                                           applicable, the Sellers
              #                                 accept, a letter tiom                                              shall so
 `tyxsgg           premises are legally                                 the appropriate municipal
                                        non—conibrming or that                                       authority that the
     .
                                                                  il was built
                   Notwithstanding anything                                    prior to the
               `
                                             herein to the                                   requirement: for any
                                                            contrtny, should the                                   certiiicatc,
         él              (tt)     Not be able to deliver                            Sellers:
                                                         the ulbre—cleseribe<l
                                                                                eertiiieates or letter;
                                                                                                                and
Case 1-18-44427-cec                      Doc 9-2     Filed 09/12/18                 Entered 09/12/18 14:32:50




                  (b)   Should the reasonable                                             rl)
         any municipal cliarges,                 cost to obtain same                                                                                `

                                                                       exceed hi-lgtlflflztitl                                            l
                                 arcliitectural, or other                                      including the           cost      of
         alteration, or                                   lises and the
                            demolition, or;                             reasonable cost            ()fCOJ`lSl`l'UC1Zl0l1,
                                                                                                                                          l



                   (C) 1l"S&l|¤C   cannot
                                                                                                                                          l`            ',_
                                    reasonably he obtained
        date set lbrth                                     within sixty (GO) days ol`
                       in the printed                                                 the proposed closing
                                      Contract; or                                                                                                      X
                (d)    Should a. variance or                                                                                                   ii
                                                                                                                                                              M,




                            M|
        party shall                           rezoning application be                                                                           ls’§ili'l"
                   have the right to                                   required, then and
                                     cancel this agreemcntcxccpt                                in that event,
       option, whereupon                                                                                              either
                                                                    as to (li), which
                           Purchasers down                                            shall be at Scl1ers'
                                               payment: shall be ibrthwith                                           sole
       survey is required                                                    returned. ln 1`llQ;_C’\WTl9gl
                                                                                                                                                    l
                          to obtain any
       provide such a                    certilicate(s) ofoccupancy
                                                                      or completion,
                                                                                                                new
                      survey to Sellers.                                               l2ttt=oliiii§&A·l<i"'et{;2ree
                                                                                                                            to

               (8)                                                                                                                    5
       OMITYZEZI)                                                :     ZWIIS IMIM GRA          PH TNTE/\"YYOAG4L/.l’
       Notices to Sellers
                          shall be sent to:

                                                             Paula A. Miller
                                                             308 \VcstMz1in Street,
                                                                                    Suite 204
                                                            Stnithtovvn,    New York ll787
                                                            (631) 979-6666
      Notices to Purchasers
                            shall be sent to:
                                                            Ted Gosman
                                                            33 Gerard     Street, Suite 2(ll
                                                            liuntington,    New York     11743
                                                |S`? 6)    ~(@~l¤) 97¤i——¢l·80(l

             (9)   _ljOSSESSlON:            THIS PARA GRAPE INTENT
                                                                                   IO/XCALLY 01lHT7E1)
           (LD) l’UR(y;4§_E_l;gS_Ql§§AUI,7`:
   pcrliormance of any                             Should the Purchasers
                        ofthe terms of this                                 vvillhilly delitult in
                                                                                                   the
  accordance with the                        Contract, and/or ihil
                                                                    to accept the
                        terms of this Contract,                                    deed ofthe Premises
  substantial and i                              then inasmuch as the                                      iu
                     would be diliiicult to
                        t                                                damages of the Sellers
  Contract shall be                         ascertain the actual                                    would be
                    deemed canceled and the                      damages   suffered by Sellers,
  Sellers and be                                amount paid and deposited                          then this
                 retained by them not·                                         shall tliereupon
                                                                                                  belong to
                                        as a penalty, but
  become thereupon                                         as liquidated damages,
                      null and void and
                                         ncitlier party shall
                                                                                     and this Contract
                                                                                                         shall
                                                              have any tintlier rights
                                                                                        against: the other.
           (I I) lQl3lf,IVlEl.LY
 clean and lice
                                    OF                    Sellers shall deliver
                     of tenancy on closing                                 the Premises vacant
                                                                                                  and broom
 at                                            oftitle.Purchasers shall have
      reasonable times                                                       the right to inspect
                             lhrty eight (48)                                                     the Premises
                                              hours prior   to closing.

          (12)
                                 The Purchasers represent
 dealings, used the                                         to Sellers l11&ll)Lll'<ll1€lSGl'S
                     services oli or have                                                     have had no
 in the printed                            employed any real estate
                form of this Contract                                broker except the
                                                                                              broker rel’erred to
                                       in connection
 that if any
             claim should be                          with the Premises
                              asserted by any other                       herein. The
                                                                                           Purchasers agree
by Purchasers, that                                  broker arising out ofany
                      Purchasers shall hold                                       negotiations or dealings
resulting hom                                the Sellers harmless
                such brolrcragc claim,                            and indemnity Sellers
                                         including                                              lor any action
survive delivery of                                reasonable attorneys‘
                     the deed.                                             tees. 'l 'his provision
                                                                                                     shnll
    Case 1-18-44427-cec                            Doc 9-2                   Filed 09/12/18                Entered 09/12/18 14:32:50




                                  (13)
                   down payment and                                                     ln the event that
                                        delivered by the                                                    the check given
                   dishonored for any                          Purchasers tothe Sellers                                            as a
                                        reason by the bank                                upon the execution
                other rights and                                  upon which it is drawn,                         of this Contract: is
                                    remedies which they                                     then the Sellers, in
                void, and thereupon                             may have, may at their option                      addition to any
                                         the Sellers                                              declare this Contract.
                                                        may    he released from all                                           null and
                         lt is understood
                                             that Sellers will                      obligations thereunder.
               closing. All                                       not be required to
                               ecrtilied and/or                                      accept any endorsed
                                                   t.ellcr‘s eheelts                                          cheeks at the time
               Sellers, unless
                                  advise to the
                                                                     presented at the closing
                                                                                                shall he made
                                                                                                                                        of
                                                  contrary is given to                                           payable directly to
               located in the State                                       the Purchasers.
                                       ol’l¤lex·v York.                                     All checks shall be
                                                                                                                    drawn on banks
                        1t’l’urchasers'
                                         uneertiiied eheelcs
              reason whatsoever,                                  given at closing are
                                      l’ur·elrascrs agree                              not paid by .l>U1'Cl11iS®1'S.rl}3lll(`
              reasonable attorneys'                           to reimburse                                                   lbr any
                                                                            Sellers tor all
                                         tees and this                                      collection costs
                                                          provision shall survive                              including
                                                                                    delivery ofthe deed.
                       (l 4)
             when Purel1ascrs'
                                    QlIl5Q|§M§:        All time periods
                                                                          in this Contract
                                    attorney receives the                                    shall he measured
                                                                fully executed                                     {rom the date
                                                                               Contracts.
                      (15) §§j_§3;s{t5;l15N‘l`:
                                                   'l`l1is_Contraet
             unless agreed
                               by both parties}                      may not beirssignecl or
                                                                                               transferred by
                                                                                                    ·$                               elithcr party,
                   (                                                        fw
                  (16) §Q_Q§Kl`ANC2E Oli
            deemed to he tirll             IBEEQ                              ;   The acceptance
                               performance                                ora deed by the l’urchasers
                                             and discharge                                            shall be
            Sellers to be                                   ofevery agreement
                          pcrtitrrned pursuant                                  and obligation on the                                                     (__

            herein specitieally                to the provision of                                     part ofthe                                                                           J
                                                                   this agreement                                                                                             ¢¤s’“?i’?‘<i·
                                stated to survive
                                                  the delivery of the
                                                                                  except these, ifany,
                                                                      deed.                             which are
                                    ..
                                                                                                                                                      _

                                                                                                                                                          {          _;
                                                                                                                                                                     ii
                         (17) l$}_lJER:
                                               Whenever this Rider is                                                                                      sh                  il
            this   Rider shall prevail                                               nr eonllret
                                                                                                 with
                                       in         all respects.                                           any other portion oftlns
                                                                                                                                   Contract,          .
                                                                                                                                                           _
                        (   IS)                 s, t   .,                                                                                                 *4*;
                                           D1:.} lg3_lQl                                                                                                                       r
        required                                       _;;             'l
                                                                            he Prennses shall
                            by   applicable statute.                                          be equipped with
                                                                                                               a smoke              detector as                  {tt?                   =

`
                        (I9) QQljQ]R.AC"l`:
                                                                                                                                                                              ly
       entire agreement
                                                            It is
                                                                    expressly understood                                                                    is   Q,
                                         between the parties      and agreed that this
                                                             and                       Contract states the
                                                                             that the Sell ers
       stipulations,                                                                           are not
                     representations,                                    and shall not be bound                                                                 jh   _.



       this Contract.                 agreements, or: promises,                                   by any
                                                                                                                                                                          I
                                                                                                                                                                                    N
                                                                                                                                                                                        ‘
                                                                oral or                                  tvrittcrr,   not specifically
              This Contract shalt                                                               set lbrtrh in
                                  not be deemed
      their handwritten                           binding on the Sellers
                        signatures to this                               unless and until the                                                               yi
      property Hom sale                    Contract and until such                            Sellers atlix
                         to the                                    time the Sellers
                                                Purchaser.                                                                may withdraw the
                                                                                                                                                                              ty
                       t2U)_§LH$YJ§_)j;                                                                                                                   It
      ¤l`                                          Purchaser agrees
            ¤>l>it¤l¤l¤t;                                               that in the event
                             wither title     lusurzmceae                                   a survey is
                                                                                                        required for the
     SON: cost and                                        HIC_l)1`€l,lllSOSyl?_v'0ll2lSG1‘S                              purpose
                              expense,                                                                   will obtain the
                                                                                    r*—   <··   °                        same at    Prn·clraser·r;'

                   (2])
                  Q/!;QlJ.l.Ai[l€lY§LCOl\·ll?lJ'l`AMEJQ=
     with each other
                     with respect to                             Both parties hereby
     the Contract                    the correction                                    agree to cooperate
                  and/or adjustments                of any mathematical
                                      made at closing, This              /eomputational tigures
                                                                                                 stated in
                                                            clause shall survive
                                                                                 delivery ofthe deed
Case 1-18-44427-cec                Doc 9-2         Filed 09/12/18            Entered 09/12/18 14:32:50




                  (22)I,l5AI)—I§_A_bQ§Q_PMlgl_jj;
        pursuant. to the                             The   ttillowing   "WARNING S'1`A'l`l3Ml3N’l"‘
                         Federal    Residential
        0t’this
              law directed thc                Lead Based Paint Hazard                                     is   made
                                Environincntnl Protection               Reduction Act of I
        und Urban Developinent                                                             992.Section 101 8
                                                            Agency (EPA) andthe
        hazards hctbre the
                                  (HUD)   to require the                           Depat·tm.cnt ot`I~lousing
                           sale or lease of
                                                         disclosure of known inhurmation
                                            most housing; built                           on lend—based paint
                  "BVIERY PURCIIASER                                    before 1978.
        WHICI-l`   A RESl`Dl5N'I`lA.L         OP ANY IN'l`I£Rl3S'l` IN
                                                                 RIESIDBNTIAI.,
       SUCH l’ROPlER'l`Y MAY D\X'li£LI,ING WAS BUIlf.'l` PRIOR. 'I`O 1978 ISREAL PROPER'l`Y ON
                                 PRESENT     EXPOSURE TO LEAD FROM               NO'I`Il?IEI) 'l`l·lA”l`
       'l`HA'l`
                MAY PLACE YOUNG CHIILDREN           A'l`                    I.IiA.D·BASl§2D PAINT
       LEAD POISONING IN                                 RISK Oli DEVELOPING
                              YOUNG                                             LEAD POI SONI NG.
       NIBUROLOGICAL DAMAGE, Cl—IlI,DRI£N`MAY PRODUCE PERl\/lANEN'l`
      QUO"l`l`EN'I`                   LEARNING Dl`SABlLl'l`Il3S,
                    BBI~I.AVlORAI.,
                     ,
                                    PROIBLEMS, AND IMPAIRIED
                                                                    REDUCED l.NTt`lELLICil3NClE
                LEAD POISONINCE ALSO
      'I`l-IE                             POSES A PARTICUILAR MISIVIORY.
              SIELLER OF AN Y IN'l"l€RES'I`                         RISK lN`l’Rl5G·NAN'l`
      PROVIDE THE BUYER Wl'l`l·{            IN RIESIDIENTIAI.,
                                                               REAL PROPIERTY IS          WOMEN.
     l*ROl\/IRISK
                                             ANY INl*`Ol.UvlA’l`ION ON                               REQUIRIEIJ
                                                                                                    'l`O
                  ASSESSMIEENTS OR                        LlEAD—l3ASl5,D PAINT
     NOTIFY 'l`I-IE BUYIEER          INSPECTIONS IN THIS SBlQ.LIERS'           HAZARDS
                            OP AN Y KNOWN                            POSSESSION AND
     ASSIESSMENT OR INSl’]3C'l"lON          LIEAINBASIED PAINT
     RIECOIMIMIENDIED PRIOR `O
                                     FOR POSSIBLE? LEAIJ—I3ASEDHAZARDS. A RISK
                                      'l
                                  PURCHASE.                      PAINT IIAZARDS IS
              Prior to the Closing
                                   Seller will
                                        provide to Purchaser:
    and the Consumer                                          the pamphlet
                     Product Safety                                         developed by IEP/\,
    Your l·lome."                   Commission (CPSC) titled                                    HUD,
                                                                "Protect Your
                                                                              Family from Lead                        in
              Seller represents
                                      that he/she has
    contain                                            no knowledge or
             IGi1(l~i)€tSC(l
                             paint, nor does the                           reasonable suspicion
                                                     Seller have any                               that the Premises
    troin risk                                                         information on leachbased
               assessments on inspection
                                                   in the Sellers                                    paint hazards
            Purchaser, at her/his                                  possession.
                                         own. cost and expense
    inspcctecl by a                                                shall have the
                      certified lirm that                                          right to have the
    hazard and notice                         conducts inspection to                                  I’remi.ses
                          of any such hazard                             ascertain the risk
   the date of this                                shall be delivered to Seller's            ofa lcad—based   paint
                      Contract. Ifsaid                                              attorney within Iiftccn
   thc Purchaser                             inspection report                                               clays tiom
                    may elect within ten                         discloses  zi linding of a lead-based
                                                (10) days utter delivery ol"                            paint hazard,
   (a) withdraw titom                                                          the notice to the
                          this agreement                                                         Sellers attorney
   Premises IIOIV\'Il'llSl'2ll1dlI7Q,          and  cancel the sale or                                              to
                                      the presence                      (b) to proceed with the
   abatement ofthe                                   ofthe leacldnascd paint                      purchase of said
                        purchase pricc. Ifthe                                   hazard, but there shall
  upon the return                                   election is made                                     be no
                     by the Seller to the                              by thc Purchaser to cancel
                                                Purchaser of the down                                this Contnxet,
  null and void
                  and neither party                                       payment, this Contract
                                           shall have any                                           shall he deemed
  agreement shall be                                        rights or obligations
                                                                                    as against the
                          terminated and wholly                                                    other  and this
                                                       cease.
          (23) P_&OPl3R'1`Y
  not provided a              t.QQNl)l'l"IQ\l_lQ_l@LQ§_&: Purchaser
                  Property Condition                                           acknowleclgcs that Seller
 Estate Property                        Disclosure Statement                                               has
                                                                                                                           `




                   Law, lcnown as the                             provided for in Article
 with the terms                          Property Condition                                 I4 of the Real
                 ofthe act, Seller                              Disclosurc: Act
                                    shall give Purchaser                         (the Act). In
 purchase price in                                           a credit ol’1ii500.00             accordance
                    lieu otiproviding,                                             against the agreed
agrees to accept                        the Property Condition                                         upon
                   such $500.00 credit                             Disclosure Statement
                                          in hill satistiiction                             and Purchaser
         Seller and I’1n·chaser                                 ol`Seller's
                                hereby agree                                obligations under the
"As Is" sale                                    notwithstanding the                                Act.
              and all the provisions                                   provisions ofsaid
contract and                          of  paragraph I2 —                                    Act that this is an
              pamgraplt 3 of this                           Condition ofthe
                                    rider apply.                               Property in the printed
                                                                                                        tbrm
Case 1-18-44427-cec                         Doc 9-2       Filed 09/12/18           Entered 09/12/18 14:32:50




               IN WIITNESS
                           WFHSRICCJF,                    the purfrics hcrcto
     and }’C2ll` El[`)()\’Q wri                                               have duly cx¢:aui·cd
                                  [11211.                                                          this agrcccmcni
                                                                                                                                      thcday



    §ii`i?x`z$”cEZ>3?E§"`”```""""`""`“"``“
    Seller                                                                         §6`EU&Fi%UEi"T?`"?F``"``"M



                           `"```W `'"``“``""`"`”`

    Scllcr                                                                     §`6`E?i)i“i`§i@€i‘Fx?%`“``'°```"m`



   —··-|..
   S
                           [Z2? -..,......~_..-..`...`.

     .|
     TNIEPIK-         R                                                        _     ,. .   __
                                                                                                 -.....-..-...—......,.......,...,.-,..
   Purchaser                                                                  SOCIAL SECURI'l`\’                II
Case 1-18-44427-cec                              Doc 9-2             Filed 09/12/18            Entered 09/12/18 14:32:50




                                                                            SHOR.'lt`     SALE RIDER
                        l.   lt is
                                     understood
                                              by the parties hereto that
                             Purchaser’s is                              the Seller°s
                                                                                      obligation. to t·rtmst`er
                                            contingent upon the                                                 title to the
                             accept on amount                    Seller’s existing
                                               less than what                       mortgagee (lieu
                                                               they are entitled                        holder) agreeing to
                             tnortgage debt                                      in full satisf%tet·ion
                                            based on its approval ol"                                   of the Sellefs
                                                                      the contract                 soles price.
                                       tt)    Seller agrees to
                                                                      make
                                                                    tt diligent
                                                                                and expeditious efl’ort
                                             approval of the                                            to obtain the
                                                             sales price lrom                                         necessary
                                                                                its lien holder.

                                       lv)   Seller represents
                                                                          that its sole
                                                                         lien holder is
                                             and the current
                                                             balance owed on the
                                                                                              loan is appro>;imat‘ely
                   2.    ln the event                                                               $__      ____________.
                                      that the ttpproval
                         hundred eighty                of the contract price
                                                                              is not obtained
                                        (180) days ofthe date                                  by the Seller within
                         deal anytime                           of this contract,                                       one
                                      theretther by                               the purelt:·1serm.ay
                         the down                   forwaurding written                                teunimttc this
                                  payment shall be returnecl             notice to the se1ler’s
                                                             within seven                       zzttorney. upon
                                                                            (7) days of said                      which
                                                                                              notice.
                  3.     ln the event
                                           that the Selle1"s
                                                             lien holder requests
                        price, notice                                               at sale
                                                                                            price greater than
                                           ot’s.uch request
                                                             shall be sent                                      the contrztct sale
                        with the dralt                                     to [l1CPlll`Cl1?lSGl"S
                        Sil<)l`l.—S21lC
                                            olithe UD~1     H
                                                            Respir  statement that was
                                                                                                  attorney in writing
                                                                                                                       together
                                        application. Within                               sent to the lien
                                                              live (5) days
                                                                             ofthe receipt                 holder as part ofthe
                                                                                                      thereof Purchaser
                                                                                                                          may:
                                 ez)    Accept the price
                                                         increase whereupon
                                        contract                                  the Seller and
                                                of sale to reflect                                Purchaser shall amend
                                                                      the new contract                                   the
                                       mortgage in the .l]`101'l.g?lg0                 sales price and
                                                                                                        the amount of
                                       obtain a new
                                                                       contingency clause. ('l`he
                                                                                                                      the
                                                     tnortgage commitment                         time tbrthe Purchaser
                                                                                will be                                 to
                                                                                                  extended twenty
                                                                                                                  (20) days), or
                                b)     fl`C11`l.`Li1l?lIC
                                                            this contract
                                                                             by lbrwarding written
                                       requesting the           ret.urn                              notice to the S<:ller’s
                                                                          ofthe down                                           attorney
                                                                                     payment.
          4   .   To     the extent
                                          any portion of
                                                  this Rider
                  riders to this                             conllicts with the
                                 contract, the                                  contract ofsale or
                                               provisions 0t`this.ridersl1all                                           any other
                                                                              {tavern.



  stttrtn cor-ten                                                                              0*      .
                                                                                                             `\__d..
  Seller
                                                                                                   rr me                 M"
                                                                                              Pu ehaser


  11>iii`<YE:?>Ei§ii"""""`“""
 Seller
